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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 21-60266-CR-MOORE


  UNITED STATES OF AMERICA,


  vs.


  MICHAEL WILLIS,
                    Defendant.
  ____________________________ /

                                      SPEEDY TRIAL REPORT

           The United States of America, by and through the undersigned Assistant United

   States Attorney, submits this Speedy Trial Report for the above-captioned case, pursuant

   to Local Rule 88.5.

           The defendant was arrested on August 18, 2021. The defendant first appeared

   before this Court on August 20, 2021. The Grand Jury indicted the case on September 14,

   2021.

           Since then proceedings have occurred resulting in excludable time under Title 18,

   United States Code, Section 3161(h): arraignment on September 15, 2021.

           Consequently, one (1) non-excludable days has elapsed since the initial

   appearance of thedefendant.

           The calendar call scheduled for October 21, 2021 was cancelled because the

   Defendant indicated his desire to plead guilty. A change of plea has been set for November

   18, 2021.

           The Speedy Trial Act requires resolution of this case or a continuance of the trial of
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   the same on or before November 25, 2021.

                                                Respectfully submitted,

                                                JUAN ANTONIO GONZALEZ
                                                ACTING UNITED STATES ATTORNEY

                                            By: s/ Donald F. Chase, II
                                                DONALD F. CHASE, II
                                                Assistant United States Attorney
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                                                500 East Broward Boulevard, Suite 700
                                                Fort Lauderdale, Florida 33394
                                                Tel:    (954) 660-5693

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 19, 2021, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.

                                                 s/ Donald F. Chase, II
                                                 DONALD F. CHASE II
                                                 ASSISTANT UNITED STATES ATTORNEY
